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 3   (916) 444-3994
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 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-365 GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND
                                                    )       [PROPOSED ORDER] CONTINUING
11
     v.                                             )       STATUS CONFERENCE
                                                    )
12
     JOSE AGUILAR-MADRIZ, et al.,                   )
                                                    )       Date: February 24, 2012
13
                                                    )       Time: 9:00 a.m.
           Defendants.                              )       Judge: Honorable Garland E. Burrell, Jr.
14
                                                    )
                                                    )
15
                                                    )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Daniel S. McConkie, Jr., Assistant United States Attorney, together with counsel for

19
     defendant Jose Aguilar-Madriz, Preciliano Martinez, Esq., counsel for defendant Ronald Reeves,

20
     John R. Manning, Esq., counsel for defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for

21
     defendant Juan Silva, Carl E. Larson, Esq., counsel for defendant Salvador Silva, J Toney, Esq.,

22
     counsel for defendant David Martinelli, Michael B. Bigelow, Esq., counsel for defendant Gabino

23
     Cuevoas-Hernandez, Steven D. Bauer, Esq., counsel for defendant Sarah Marshall, John P.

24
     Balazs, Esq., counsel for defendant Moses Puledo Aguilar, Clemente M. Jimenez, Esq., counsel

25
     for defendant German Alvarez Ortega, Preeti K. Bajwa, Esq., counsel for defendant Adam

26
     Gutierrez Cruz, Erin J. Radekin, Esq., counsel for defendant Manuel Madriz Sanchez, Kyle R.

27
     Knapp, Esq., and counsel for defendant Pedro Aguilar Aguilar, Olaf W. Hedberg, Esq., that the

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 1   status conference presently set for January 20, 2012 be continued to February 24, 2012, at 9:00
 2   a.m., thus vacating the presently set status conference.
 3          Further, all of the parties, the United States of America and all of the defendants as stated
 4   above, hereby agree and stipulate that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendants in a speedy trial and that
 6   time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code
 7   Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to
 8   prepare) from the date of the parties stipulation, January 17, 2012, to and including February 24,
 9   2012. The requested continuance is to allow the defense more time to review the discovery and
10   conduct investigation.
11   IT IS SO STIPULATED.
12
     Dated: January 17, 2012                                       /s/ Perciliano Martinez
13                                                                PERCILIANO MARTINEZ
                                                                  Attorney for Defendant
14                                                                Jose Aguilar-Madriz
15
     Dated: January 17, 2012                                       /s/ John R. Manning
16                                                                JOHN R. MANNING
                                                                  Attorney for Defendant
17                                                                Ronald Reeves
18
     Dated: January 17, 2012                                      /s/ Dan F. Koukol
19                                                                DAN F. KOUKOL
                                                                  Attorney for Defendant
20                                                                Artemio Aguilar
21
     Dated: January 17, 2012                                       /s/ Carl E. Larson
22                                                                CARL E. LARSON
                                                                  Attorney for Defendant
23
                                                                  Juan Silva
24
     Dated: January 17, 2012                                       /s/ J Toney
25                                                                J TONEY
                                                                  Attorney for Defendant
26
                                                                  Salvador Silva
27

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     Dated: January 17, 2012                         /s/ Michael B. Bigelow
 1
                                                     MICHAEL B. BIGELOW
 2                                                   Attorney for Defendant
                                                     David Martinelli
 3
     Dated: January 17, 2012                         /s/ Steven D. Bauer
 4
                                                     STEVEN D. BAUER
 5                                                   Attorney for Defendant
                                                     Gabino Cuevas-Hernandez
 6

 7
     Dated: January 17, 2012                          /s/ John P. Balazs
                                                     JOHN P. BALAZS
 8                                                   Attorney for Defendant
                                                     Sarah Marshall
 9

10
     Dated: January 17, 2012                         /s/ Clemente M. Jimenez
                                                     CLEMENTE M. JIMENEZ
11                                                   Attorney for Defendant
                                                     Moses Puledo Aguilar
12

13   Dated: January 17, 2012                         /s/ Preeti K. Bajwa
                                                     PREETI K. BAJWA
14                                                   Attorney for Defendant
                                                     German Alvarez Ortega
15

16   Dated: January 17, 2012                         /s/ Erin J. Radekin
                                                     ERIN J. RADEKIN
17                                                   Attorney for Defendant
                                                     Adan Guitierrez Cruz
18

19   Dated: January 17, 2012                         /s/ Kyle R. Knapp
                                                     KYLE R. KNAPP
20                                                   Attorney for Defendant
                                                     Manuel Madriz Sanchez
21

22   Dated: January 17, 2012                         /s/ Olaf W. Hedberg
                                                     OLAF W. HEDBERG
23                                                   Attorney for Defendant
                                                     Pedro Aguilar Aguilar
24

25   Dated: January 17, 2012                         Benjamin B. Wagner
                                                     United States Attorney
26

27
                                               by:   /s/ Daniel S. McConkie, Jr.
                                                     DANIEL S. MCCONKIE, JR.
28                                                   Assistant U.S. Attorney


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              Case 2:11-cr-00365-GEB Document 100 Filed 01/19/12 Page 4 of 5



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 7
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                         ) No. CR-S-11-365 GEB
10
                                                       )
                                                       )
11          Plaintiff,                                 ) [PROPOSED] ORDER TO
                                                       ) CONTINUE STATUS CONFERENCE
12
     v.                                                )
                                                       )
13
     JOSE AGUILAR-MADRIZ, et al.,                      )
                                                       )
14
                                                       )
            Defendants.                                )
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                                                       )
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                                                       )
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            The Court, having received, read, and considered the stipulation of the parties, and good

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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that

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     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within

23
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the

24
     failure to grant a continuance in this case would deny defense counsel to this stipulation

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     reasonable time necessary for effective preparation, taking into account the exercise of due

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     diligence. The Court finds that the ends of justice to be served by granting the requested

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     continuance outweigh the best interests of the public and the defendants in a speedy trial.

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                           The Court orders that the time from the date of the parties' stipulation, January 17, 2012,
 1
     to and including February 24, 2012, shall be excluded from computation of time within which
 2
     the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 3
     3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 4
     prepare). It is further ordered that the January 20, 2012, status conference shall be continued
 5
     until February 24, 2012, at 9:00 a.m.
 6

 7   IT IS SO ORDERED.
 8
     Date: 1/18/2012
 9
                                                                         _________________________
10                                                                       GARLAND E. BURRELL, JR.
                                                                         United States District Judge
11
     DEAC_Signature-END:




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